                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                WESTERN DIVISION



    UNITED STATES OF AMERICA,
                  Plaintiff,                              No. CR13-4082-MWB
    vs.                                          REPORT AND RECOMMENDATION
                                                    ON MOTION TO DISMISS
    LEVON DEAN, JR.,
                  Defendant.
                                   ____________________



           Defendant Levon Dean, Jr., has filed a motion (Doc. No. 70) to dismiss Counts 1,
2 and 3 of the superseding indictment for lack of jurisdiction.                Plaintiff (the
Government) has filed a resistance (Doc. No. 71). Judge Bennett has referred the
motion to me for preparation of a report and recommended disposition. While Levon1
has requested oral argument, that request is denied as the motion has been well-briefed
by both parties. See L.R. 7(c). The motion is fully submitted.


                                       BACKGROUND
           On October 24, 2013, the Grand Jury returned a nine-count superseding
indictment (Doc. No. 41) against Levon and two co-defendants (Jamal Dean and Sarah
Berg).        Levon is named in all counts except Count 8. The counts relevant to Levon’s




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 Because one co-defendant shares Mr. Dean’s last name, I will refer to him herein by his first
name to avoid confusion.


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current motion are Count 1, conspiracy to commit robbery, and Counts 2 and 3, robbery.
All three counts are brought pursuant to 18 U.S.C. § 1951 (the Hobbs Act).
      The Government summarizes the pertinent factual allegations as follows:
            Sometime before April 15, 2013, Sarah Berg and others known and
      unknown to the grand jury, used methamphetamine J.R. provided and thus
      became aware that J.R. was a drug trafficker. At the time of the robbery
      J.R. was a drug trafficker whose drug trade affected commerce as
      commerce is defined in Title 18 United States Code Section 1951(b)(3).
      The robbery impeded J.R. from drug trafficking, and depleted his
      resources of methamphetamine and United States currency used to acquire
      methamphetamine.

             Sometime before April 24, 2013, Jamal Dean, Levon Dean, and
      others known and unknown to the grand jury, used methamphetamine C.B.
      provided and thus became aware that C.B. was a drug trafficker. At the
      time of the robbery C.B. was a drug trafficker whose drug trade affected
      commerce as commerce is defined in Title 18 United States Code Section
      1951(b)(3). The robbery impeded C.B. from drug trafficking and depleted
      his resources of methamphetamine and United States currency used to
      acquire methamphetamine.

Doc. No. 71-1 at 1-2.


                                  THE ARGUMENTS
      Levon argues that this court lacks jurisdiction over Counts 1, 2 and 3 because the
Government cannot prove the alleged conduct had an actual impact on interstate
commerce. He notes that the alleged victims, J.R. and C.B., are alleged to have been
drug dealers, not business entities regularly engaged in interstate commerce. He cites
cases holding that criminal acts directed solely at individuals do not have a
substantial-enough effect on interstate commerce to provide federal jurisdiction under the
Hobbs Act.
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      The Government argues that Counts 1 through 3 of the superseding indictment
properly state offenses because those counts allege facts satisfying all of the essential
elements of the charged offenses. The Government further contends that because the
offense is properly stated, Levon’s motion is an inappropriate pretrial challenge to the
sufficiency of the Government’s evidence.


                                       ANALYSIS
I.    Does This Court Have Subject Matter Jurisdiction Over Counts 1 Through 3?
      “The district courts of the United States shall have original jurisdiction, exclusive
of the courts of the States, of all offenses against the laws of the United States.” 18
U.S.C. § 3231. Here, the Grand Jury returned a superseding indictment against Levon
that includes, inter alia, three counts based on alleged violations of the Hobbs Act, a
federal criminal statute.   See Superseding Indictment Counts 1-3. “Indictments are
normally sufficient unless no reasonable construction can be said to charge the offense.”
United States v. Peterson, 867 F.2d 1110, 1114 (8th Cir. 1989). An indictment states
an offense where it contains all the essential elements of the offense charged.     United
States v. Steffen, 687 F.3d 1104, 1109 (8th Cir. 2012). In reviewing the sufficiency of
an indictment, the court must accept the Government's allegations as true.     Id. at 1107
n.2. Under these standards, there is no doubt that Counts 1 through 3 state offenses
over which this court has subject matter jurisdiction.
      And, in fact, while Levon couches his motion as one challenging this court’s
jurisdiction, he does not actually make that argument. Indeed, he agrees that Hobbs Act
charges may properly be brought in federal court and that the Government is required to
prove only a “minimal” effect on interstate commerce as an element of that claim.
Doc. No. 70-1 at 3 (citing United States v. Williams, 308 F.3d 833, 837-88 (8th Cir.
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2002)). It is clear from Levon’s argument that he challenges the sufficiency of the
evidence, not this court’s jurisdiction. As such, to the extent Levon is claiming this
court lacks jurisdiction over Counts 1 through 3, that claim has no merit.


II.    May Levon Challenge The Sufficiency Of The Evidence Prior To Trial?
       Levon’s actual argument, regardless of phrasing, is that the Government cannot
establish the interstate commerce nexus that is required to secure a conviction under the
Hobbs Act. He cites cases for the proposition that when the victim of an alleged offense
is an individual, rather than a business entity, the impact on interstate commerce is less
than apparent. Doc. No. 70-1 at 3-4. He then argues that under the alleged facts of
this case, the Government cannot make the required showing that Levon’s alleged actions
had an actual effect on interstate commerce.
       Levon is correct that an essential element of a Hobbs Act charge is a showing that
the defendant’s alleged conduct “in any way or degree obstructs, delays, or affects
commerce or the movement of any article or commodity in commerce.” 18 U.S.C. §
1951(a). Thus, the Eighth Court Model Jury Instruction requires the Government to
prove, inter alia, that “the defendant’s action [obstructed] [delayed] [affected]
[interstate] [foreign] commerce in some way or degree.”           See Eighth Circuit Model
Criminal Jury Instruction 6.18.1951.2 However, Levon’s motion is simply premature.
He seeks a pretrial ruling that the Government’s evidence does not satisfy the interstate
commerce requirement. In other words, he seeks the criminal procedure equivalent of
an order granting summary judgment in his favor.



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 The instruction then calls for a description of the specific manner(s) in which the Government
contends interstate commerce has been affected in a particular case. Id.
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       No such procedure exists. A defendant may file a pretrial motion to dismiss an
indictment on various grounds.      See, e.g., Fed. R. Crim. P. 12(b). Those grounds
may include, for example, double jeopardy, collateral estoppel and false testimony
presented to the grand jury. See, e.g., United States v. Williams, 720 F.3d 674, 700
(8th Cir. 2013). However, sufficiency of the evidence is not one of those grounds.
Indeed, “[i]t has long been settled that an indictment is not open to challenge on the
ground that there was inadequate or insufficient evidence before the grand jury.”
United States v. Nelson, 165 F.3d 1180, 1182 (8th Cir. 1999) (citing Costello v. United
States, 350 U.S. 359, 363–64 (1956)). In other words, the Federal Rules of Criminal
Procedure do not permit the functional equivalent of a motion for summary judgment,
whereby a defendant may test the sufficiency of the Government’s evidence in advance
of trial. See, e.g., United States v. Ferro, 252 F.3d 964, 968 (8th Cir. 2001) (citing
cases); accord United States v. Nabors, 45 F.3d 238, 240 (8th Cir. 1995) (“There being
no equivalent in criminal procedure to the motion for summary judgment that may be
made in a civil case, see Fed.R.Civ.P. 56(c), the government has no duty to reveal all of
its proof before trial.”).
        The sufficiency of the evidence may be tested by a motion for acquittal pursuant
to Rule 29. Ferro, 252 F.3d at 968 (citing United States v. DeLaurentis, 230 F.3d 659,
661 (3d Cir. 2000). However, the first opportunity for such a motion is after the
Government closes its evidence at trial. Fed. R. Crim. P. 29(a). Levon may not,
prior to trial, require the Government to show that its evidence at trial will satisfy any, or
all, of the essential elements of the charged offenses. This proposition is illustrated by
the cases Levon relies on, as each was decided based on the evidentiary record created at
trial. See United States v. Quigley, 53 F.3d 909 (8th Cir. 1995) (affirming district
court’s grant of defendant’s post-trial Rule 29 motion); United States v. Wang, 222 F.3d
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234 (6th Cir. 2000) (reversing defendant’s conviction based on lack of evidence
demonstrating an impact on interstate commerce); United States v. Collins, 40 F.3d 95
(5th Cir. 1994) (affirming convictions on some counts while reversing on others).
      It could very well turn out that Levon will have a colorable argument that Counts
1 through 3 fail due to a lack of evidence supporting the interstate commerce element of a
Hobbs Act charge.      His current motion, however, is procedurally flawed.            The
sufficiency of the Government’s evidence cannot be determined until, at the earliest, the
Government has rested its case at trial.     As such, I must recommend that Levon’s
motion be denied without prejudice to his right to move for judgment of acquittal at the
appropriate time.


                           Conclusion and Recommendation
      For the reasons set forth herein, I RESPECTFULLY RECOMMEND that the
motion (Doc. No. 70) by defendant Levon Dean, Jr., to dismiss Counts 1 through 3 of
the superseding indictment be denied without prejudice to his rights pursuant to Federal
Rule of Criminal Procedure 29.
      Objections to this Report and Recommendation in accordance with 28 U.S.C.
' 636(b)(1) and Fed. R. Crim. P. 59(b) must be filed within fourteen (14) days of the
service of a copy of this Report and Recommendation. Objections must specify the
parts of the Report and Recommendation to which objections are made, as well as the
parts of the record forming the basis for the objections.     See Fed. R. Crim. P. 59.
Failure to object to the Report and Recommendation waives the right to de novo review
by the district court of any portion of the Report and Recommendation as well as the
right to appeal from the findings of fact contained therein. United States v. Wise, 588
F.3d 531, 537 n.5 (8th Cir. 2009).
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 IT IS SO ORDERED.
 DATED this 3rd day of December, 2013.




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                               LEONARD T. STRAND
                               UNITED STATES MAGISTRATE JUDGE




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